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     ""'AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case with Probation
                Sheet 1




                                                   SOUTHERN DISTRICT OF CALIFORNIA' ."
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                                    ~
                                         v.                                        (For Offenses COl11lJl.itted On or After NovemHeiPffrj'~~ ,

                     RIGOBERTO SANCHEZ-LOPEZ                                       Case Number: 12CR4159-NLS
                                                                                    MATTHEW C. BINNINGER, FD.
                                                                                   Defendant's Attorney
    REGISTRATION NO. 35156298

    o
    THE DEFENDANT:
    18] pleaded guilty to count(s) 1 of the INFORMAnON (Misdemeanor)
     o    was found guilty on COunt(S)I_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense( s):
                                                                                                                                            Count
    Title & Section                           Nature of Offense                                                                            Numberls)
21 USC 841(a)(l)                       POSSESSION OF MARIJUANA - (Class A Misdemeanor)                                                      1




        The defendant is sentenced as provided in pages 2 through _ _4:...-_ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                                             --------------------------------------------
 18] Count(s) Count I ofthe Underlying Indictment                        18]         is        areD dismissed on the motion ofthe United States.
 18] Assessment: $25.00 (Waived)


  18] Fine waived - $5,000                           0   Forfeiture pursuant to order filed                                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notity the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                 NOVEMBER 5, 2012




                                                                                 HON. NITA L. STORMES
                                                                                 UNITED STATES MAGISTRATE JUDGE

                                                                                                                                                12CR4159-NLS
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AO 2458 (CASD) (Rev, 12111) Judgment in a Criminal Case with Probation
           Sheet 2   Imprisonment

                                                                                             Judgment -   Page _ _2 _ of     4
 DEFENDANT: RIGOBERTO SANCHEZ-LOPEZ
 CASE NUMBER: 12CR4159-NLS
                                                              IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED




    o The court makes the following recommendations to the Bureau ofPrisons:


    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district: 

            Oat                                     Oa.m.         Op.m.     on _ _ _ _ _ _ _ _ _ _ __ 


                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before
                  ------------------------------------------------------------------------
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                                         RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at ______________________ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                           By ________~~~~==~~~~~~---------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                      12CR4159-NLS
           Case 3:12-cr-04159-NLS Document 21 Filed 12/06/12 PageID.74 Page 3 of 4

AO 245B (CAS D) (Rev. 12111) 1udgment in a Criminal Case with Probation
             Sheet 3 -- Probation
                                                                                                            Judgntent-Page       3    of        4
DEFENDANT: RIGOBERTO SANCHEZ-LOPEZ                                                                   D
CASE NUMBER: 12CR4159.NLS
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:



The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September J 3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, ifapplicable.)
      The defendant shall not possess a flrearm, ammunition, destructive device, or any other dangerous weapon.
      The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
      Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d). 

      The defendant shall comply with tile requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed 

      by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or 

      was convicted ofa qualifying offense. (Check if applicable.) 

D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.) 

          If this judgment imposes a fine or restitution obligation, it is a condition of probation tbat the defendant pay any such fine or 

restitution in accordance with the Schedule of Payments sheet of this judgment. 

        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
  I) 	 the defendant shall not leave the judiCial district without the permission of the court or probation officer;
  2) 	 the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3) 	 the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4) 	 the defendant shall support his or her dependents and meet other family responsibilities;
  5) 	 the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
  6) 	 the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7) 	 the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
       substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8) 	 the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) 	 the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
 10) 	 the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
       any contraband observed in plain view of the probation officer;
 11) 	 the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
 12) 	 the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
 13) 	 as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics and shall permitthe probation officer to make such notifications and to confirm
       the defendant's compliance with such notification requirement.



                                                                                                                                       12CR4159-NLS
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AO 24SB (CASD) (Rev. 12111) Judgment in a Criminal Case with Probation
           Sheet 4  Supervised Release
                                                                                                              Judgment-Page __4_ of _ _4'----_ _
DEFENDANT: RIGOBERTO SANCHEZ-LOPEZ                                                                    II
CASE NUMBER: 12CR4159-NLS
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
ONE (1) YEAR

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offinses committed on or after September J3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ifapplicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons; 

  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment; 

  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any 

         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                        12CR4159-NLS
